Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 1 of 100 Page ID
                                  #:83423
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 2 of 100 Page ID
                                  #:83424
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 3 of 100 Page ID
                                  #:83425
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 4 of 100 Page ID
                                  #:83426
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 5 of 100 Page ID
                                  #:83427
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 6 of 100 Page ID
                                  #:83428
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 7 of 100 Page ID
                                  #:83429




                   EXHIBIT 18
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 8 of 100 Page ID
                                  #:83430
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 9 of 100 Page ID
                                  #:83431
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 10 of 100 Page ID
                                  #:83432
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 11 of 100 Page ID
                                  #:83433
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 12 of 100 Page ID
                                  #:83434
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 13 of 100 Page ID
                                  #:83435
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 14 of 100 Page ID
                                  #:83436
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 15 of 100 Page ID
                                  #:83437
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 16 of 100 Page ID
                                  #:83438
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 17 of 100 Page ID
                                  #:83439
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 18 of 100 Page ID
                                  #:83440
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 19 of 100 Page ID
                                  #:83441
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 20 of 100 Page ID
                                  #:83442
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 21 of 100 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 22 of 100 Page ID
                                  #:83444
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 23 of 100 Page ID
                                  #:83445
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 24 of 100 Page ID
                                  #:83446
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 25 of 100 Page ID
                                  #:83447
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 26 of 100 Page ID
                                  #:83448
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 27 of 100 Page ID
                                  #:83449
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 28 of 100 Page ID
                                  #:83450
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 29 of 100 Page ID
                                  #:83451
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 30 of 100 Page ID
                                  #:83452
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 31 of 100 Page ID
                                  #:83453
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 32 of 100 Page ID
                                  #:83454
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 33 of 100 Page ID
                                  #:83455
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 34 of 100 Page ID
                                  #:83456
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 35 of 100 Page ID
                                  #:83457
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 36 of 100 Page ID
                                  #:83458
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 37 of 100 Page ID
                                  #:83459
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 38 of 100 Page ID
                                  #:83460
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 39 of 100 Page ID
                                  #:83461
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 40 of 100 Page ID
                                  #:83462
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 41 of 100 Page ID
                                  #:83463
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 42 of 100 Page ID
                                  #:83464
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 43 of 100 Page ID
                                  #:83465




                   EXHIBIT 19
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 44 of 100 Page ID
                                  #:83466
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 45 of 100 Page ID
                                  #:83467
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 46 of 100 Page ID
                                  #:83468
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 47 of 100 Page ID
                                  #:83469
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 48 of 100 Page ID
                                  #:83470
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 49 of 100 Page ID
                                  #:83471
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 50 of 100 Page ID
                                  #:83472
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 51 of 100 Page ID
                                  #:83473
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 52 of 100 Page ID
                                  #:83474
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 53 of 100 Page ID
                                  #:83475
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 54 of 100 Page ID
                                  #:83476
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 55 of 100 Page ID
                                  #:83477
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 56 of 100 Page ID
                                  #:83478
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 57 of 100 Page ID
                                  #:83479
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 58 of 100 Page ID
                                  #:83480




                   EXHIBIT 20
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 59 of 100 Page ID
                                  #:83481
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 60 of 100 Page ID
                                  #:83482
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 61 of 100 Page ID
                                  #:83483
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 62 of 100 Page ID
                                  #:83484
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 63 of 100 Page ID
                                  #:83485
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 64 of 100 Page ID
                                  #:83486
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 65 of 100 Page ID
                                  #:83487
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 66 of 100 Page ID
                                  #:83488
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 67 of 100 Page ID
                                  #:83489
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 68 of 100 Page ID
                                  #:83490
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 69 of 100 Page ID
                                  #:83491
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 70 of 100 Page ID
                                  #:83492
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 71 of 100 Page ID
                                  #:83493
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 72 of 100 Page ID
                                  #:83494
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 73 of 100 Page ID
                                  #:83495
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 74 of 100 Page ID
                                  #:83496
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 75 of 100 Page ID
                                  #:83497
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 76 of 100 Page ID
                                  #:83498
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 77 of 100 Page ID
                                  #:83499
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 78 of 100 Page ID
                                  #:83500
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 79 of 100 Page ID
                                  #:83501
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 80 of 100 Page ID
                                  #:83502
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 81 of 100 Page ID
                                  #:83503
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 82 of 100 Page ID
                                  #:83504
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 83 of 100 Page ID
                                  #:83505




                   EXHIBIT 21
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 84 of 100 Page ID
                                  #:83506
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 85 of 100 Page ID
                                  #:83507
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 86 of 100 Page ID
                                  #:83508
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 87 of 100 Page ID
                                  #:83509
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 88 of 100 Page ID
                                  #:83510
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 89 of 100 Page ID
                                  #:83511
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 90 of 100 Page ID
                                  #:83512
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 91 of 100 Page ID
                                  #:83513
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 92 of 100 Page ID
                                  #:83514
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 93 of 100 Page ID
                                  #:83515
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 94 of 100 Page ID
                                  #:83516
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 95 of 100 Page ID
                                  #:83517
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 96 of 100 Page ID
                                  #:83518
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 97 of 100 Page ID
                                  #:83519
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 98 of 100 Page ID
                                  #:83520
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 99 of 100 Page ID
                                  #:83521
Case 2:04-cv-09049-DOC-RNB Document 3848-6 Filed 05/28/08 Page 100 of 100 Page ID
                                   #:83522
